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AO 442 (Rev 01/09) Arrest Warrant

UNITED STATES DISTRICT COURT

for the
District of Columbia oD q mY 230
United States of America Case: 1:24-cr-00162
JAEVONN ARCHER } Assigned To : Walton, Reggie B.
- ) Assign. Date ; 4/3/2024
) Description: INDICTMENT (B)
Defendant
ARREST WARRANT

To: — Any authorized law enforcement officer

YOU ARE COMMANDED to arresi and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)
who is accused of an offense or violation based on the following document filed with the court:

H Indictment G Superseding Indictment Ol lnformation (© Superseding Information O Complaint
© Probation Violation Petition C1 Supervised Release Violation Petition © Violation Notice O Order of the Court

This offense is briefly described as follows:

VIOLATIONS: 18 U.S.C. § 1201(c) (Conspiracy to Commit Kidnapping) 18 U.S.C. § 1201(a)(1} (Kidnapping)
FORFEITURE: 18 U.S.C, § 981(a)(1}(C): 18 U.S.C. § 924(d)(1), 21 U.S.C. § 853(p); and 28 U.S C § 2481(c)

Date: 04/03/2024

issuing officer's signature
Washington, DC G. MICHAEL HARVEY, U.S. MAGISTRATE JUDGE

Printed name and title

City and state:

Return

This warrant was received on (date) “S/S “7 _, and the person was arrested on (date) a / qG 7. Z.
at (city and state) CorF, /. jp J “ds . Ua(" . 4/

Date: Af / f 6] = EF Fah ’s signature

Ex Frag L Sfex Age

Print

